Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 1 of 48 PageID 28




                        EXHIBIT 1
     Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 2 of 48 PageID 29

Certificate of Registration
                    This Certificate issued under the seal of the Copyright
                    Office in accordance with title i7, United States Code,
                    attests that registration has been made for the work
                    identified below. The information on this certificate has
                    been inade'a part of the CopyrightOffice records.




                   ~~~~~"ofAm«ia
                                                                                             Registration Number
                                                                                          -n: 7-009-361
                                                                                                Efl'ectlve elate of
                                                                                                  registration:
                                                                                               November 11, 2009




      Title-------------------------------------------------
                              Tide of Work: Windows 7
      Completion/Publication - - - - - - - - - - - - - - - - - - - - -
                      Year of Completion: 2009
                   Date of 1st Publlcatioa: October 22, 2009              Natioa of 1st Publication: United States

      Author
                       •           Author: Microsoft Corporation
                           Author Cnated: text, editing, artwork, computer program, audio, compilation

                      Work made for hire: Yes
                                 Citizen of: United States

      Copyright daimant
                     Copyright Claimant: Microsoft Corporation
                                             One Microsoft Way, Redmond, WA, 98052, United States


      Umitation of copyright dalm
        Material excluded from dais claim: text, computer program, editing, audio, selection of materials for a
                                           compilation


           Previous regfstntion aad year: TX6508905            2007
          New material included la claim: text, editing, artwork, computer program, audio, compilation


      Certifteation
                                    Name: Matt Steelton
                                     Date: November 11, 2009
           AppUcant'1 Trackiag Number:       83479060



                           Correspondence: Yes

                                                                                                                      Page l of 2
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 3 of 48 PageID 30




     Reilstration #:     TX0007009361



   Service Request#:      1-273031 SO I




                       Microsofl Corporation
                       Peggy Crowley
                       One Microsoft Way
                       Redmond, WA 98052 United States
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 4 of 48 PageID 31




                        EXHIBIT 2
      Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 5 of 48 PageID 32

Certificate of
                       'l'hLs C:ertificate issued under the
                                  accordance \Vilh title !7,
                                                      been

                                                                                             Registration Number
                                                                                           TX 7-740-672
                                                                                                Effective date of
                                                                                                  registration:
                                                                                                October21, 2013




   Title
                            Title of Work: Windows 8.1 Pro
   Completion I Publication
                   Year of Completion:         2013
               Date of 1st Publication:        October 17, 2013           Nation of 1st Publication: United States

  Author
                   •              Author:     Microsoft Corporation
                        Author Created:       computer progra1n

                  Work made for hire:         Yes
                               Citizen of: United States

  Copyright claimant
                  Copyright Claimant:         Microsoft Corporation
                                              One Microsoft Way, Redmond, WA, 98052, United States

  Limitation of copyright claim
     Material excluded from this claim:        computer program, previous version

       Previous registration and year:        TX 7-601-008        2012
       New material included in claim:        cotnputer prograin

  Certification
                                   Name:      Dave Green
                                     Date:    October 21, 2013
        Applicant's Tracking Number:          84708923




                                                                                                                     Page I of I
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 6 of 48 PageID 33




                        EXHIBIT 3
   Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 7 of 48 PageID 34
Certificate of Registration
                       This Certificate issued under the seal of the Copyright
                       Office in accordance with title 17, U11ited St,1tes Code,
                       attests that registration has been made for the work
                       identified below. The information on this certificate has   Registration Number
                       been made a part of the Copyright Office records.
                                                                                   TX 8-058-526
                                                                                   Effective Date of Registration:
                                                                                   July 30, 2015

                       Register of Copyrights, United States of America



   Title

                          Title of Work:     Windows 10 Pro


   Completion/Publication
                    Year of Completion:      2015
                 Date of 1st Publication:    July 29, 2015
                Nation of 1•1 Publication:   United States

   Author

                      •       Author:        Microsoft Corporation
                      Author Created:        computer program
                    Work made for hire:      Yes
                            Citizen of:      United States

   Copyright Claimant

                    Copyright Claimant:      Microsoft Corporation
                                             One Microsoft Way, Redmond, WA, 98052, United States

   Limitation of copyright claim

     Material excluded from this claim:      computer program, previous version
       Previous registration and year:       TX 7-740-672, 2013

       New material included in claim:       computer program

   Certification

                                 Name:       Dave Green
                                  Date:      July 30, 20 I 5
           Applicant's Tracking Number:      85306384




                                                                                                               Page I of I
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 8 of 48 PageID 35




                        EXHIBIT 4
    Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 9 of 48 PageID 36

Certificate of Registration
                        This Certificate issued under the seal of the Copyright
                        Office in accordance with title i7, United States Code,
                        attests that registration has been made for the work
                        identified below. The information on this certificate has
                                                                                              Registration Number
                        been made a part of the Copyright Office records.
                                                                                            TX 7-649-882
                                                                                                 Effective date of
                                                                                                   registration:
                        Register of Copyrights, United States of America                         March 13, 2013




  Title
                            Title of Work: Office Professional 2013
  Completion/ Publication
                   Year of Completion: 2013
                Date of 1st Publication: January 29, 2013                  Nation of 1st Publication: United States

  Author
                    •            Author: Microsoft Corporation
                        Author Created: computer program

                   Work made for hire: Yes
                              Citizen of: United States

  Copyright claimant
                   Copyright Claimant: Microsoft Corporation
                                            One Microsoft Way, Redmond, WA, 98052, United States

  Limitation of copyright claim
    Material excluded from this claim: computer program, previous edition
       Previous registration and year: TX 7-151-840            2010
      New material included in claim: computer program, e~tire work including text and art on product packaging

  Certification
                                   Name: Dave Green
                                    Date: March 13, 2013
          Applicant's Tracking Number:      84412511



                        Correspondence: Yes




                                                                                                                      Page 1 of 1
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 10 of 48 PageID 37




                        EXHIBIT 5
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 11 of 48 PageID 38




       Int. Cls.: 9 and 42

       Prior U.S. Cls.: 26, 38 and 101
                                                                                   Reg. No. 1,200,236
       United States Patent and Trademark Office                                       Registered Jul. 6, 1982


                                             TRADEMARK
                                            SERVICE MARK
                                              Principal Register



                                               MICROSOFT



       Microsoft (partnership)                            VICES, in CLASS 42 (U.S. Cl. 101).
       Suite 819                                             First use Nov. 12, 1975; in commerce Nov. 12,
       10800 NE. 8th                                      1975.
       Bellevue, Wash. 98004

          For: COMPUTER PROGRAMS, in CLASS 9                Ser. No. 236,080, filed Oct. 22, 1979.
       (U.S. Cls. 26 and 38).
          First use Nov. 12, 1975; in commerce Nov. 12,   B. H. VERTIZ, Primary Examiner
       1975.
          For: COMPUTER PROGRAMMING SER-                  CHERYL LYNNE HENDERSON, Examiner
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 12 of 48 PageID 39




                        EXHIBIT 6
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 13 of 48 PageID 40




                                                Microsoft
   Reg. No. 4,552,363                     MICROSOFT CORPORATION (WASHINGTON CORPORATION)
                                          ONE MICROSOFT WAY
   Registered June 17, 2014               REDMOND, WA 980526399

   Int. Cls.: 9, 16, 25, 28, 35,          FOR COMPUTER OPERATING SYSTEM PROGRAMS AND UTTLTTIES; COMPUTER AP-
   36, 38, 39, 41, 42, and 45             PLICATION SOFTWARE FOR WTRELESS TELECOMMUNlCATIONS FOR USE WITH
                                          WIRELESS DEVICES; COMPUTER SOFTWARE TO ENABLE UPLOADING, DOWNLOAD-
                                          ING,ACCESSING, POSTING, DISPLAYING, TAGGING, BLOGGING, STREAMING, LINKING,
   TRADEMARK                              SHARING OR OTHERWISE PROVIDING ELECTRONIC MEDIA OR INFORMATION VIA
                                          COMPUTER AND COMMUNICATION NETWORKS; SOFTWARE FOR ALLOWING COM-
   SERVICE MARK                           MUNICATION AND INTERACTION BETWEEN PHONES, MOBILE DEVICES, TELEVISIONS,
                                          VIDEOGAMECONSOLES, MEDIA PLAYERS, COMPUTERS, DIGITAL MEDIA HUBS,AND
   PRINCIPAL REGISTER                     AUDIOVISUAL DEVICES; COMPUTER SOFTWARE FOR USE BY COMPUTER NETWORK
                                          ADMINISTRATORS TO DEPLOY AND MANAGE APPLICATION SOFTWARE AND NE1~
                                          WORK SERVER SOFTWARE; COMPUTER NETWORK SERVER SOFTWARE FOR MAN-
                                          AGING USER CONTENT ON COMPUTER NETWORKS AND GLOBAL COMPUTER NET-
                                          WORKS; COMPUTER SOFTWARE FOR MANAGING SECURE COMMUNICATIONS OVER
                                          COMPUTER NETWORKS AND GLOBAL COMPUTER NETWORKS; COMPUTER SOFTWARE
                                          FOR DEVELOPING, MANAGING AND OPERATING INTRANET SITES; COMPUTER NET-
                                          WORK OPERATING SOFTWARE AND UTILITIES; COMPUTER SOFTWARE DEVELOP-
                                          MENT TOOLS FOR NETWORK SERVERS AND APPLICATIONS; COMI)UTER SOFTWARE
                                          FOR INVENTORYING AND MONITORING COMPUTER 1-IARDWARE AND SOFTWARE
                                          ASSETS AND USE WITHIN AN ORGANIZATION; COMPUTERAPPLICATION PROGRAMS
                                          AND OPERATING SYSTEM PROGRAMS FOR USE WITH COMMUNICATIONS SERVERS;
                                          COMPUTER PROGRAMS FOR MANAGING COMMUNICATTONSAND DATA EXCHANGE
                                          BETWEEN COMPUTERS AND ELECTRONlC DEVICES; OPERATING SYSTEMS SOFTWARE
                                          FOR USE IN PLAYING ELECTRONIC GAMES; COMPUTER HARDWARE AND PERJPHER-
                                          ALS; COMPUTER KEYBOARDS; COMPUTER MICE AND WIRELESS COMPUTER MICE;
                                          WIRELESS COMMUNICATIONS DEVICES, NAMELY, MOBILE PHONES, CELLULAR
                                          TELEPHONES, PERSONAL DIGITAL ASSISU\NTS, AND HAND-HELD COMPUTERS;
                                          HARDWARE FOR TELECOMMUNICATIONS FOR CONNECTING DEVICES VIA IN-HOME
                                          PHONE AND ELECTRICAL WTRJNG, NAMELY, COMPUTER NETWORKS HUBS, COM-
                                          PUTER SERVERS, SET-TOP BOXES, COMPUTER SWITCHES AND COMPUTER ROUTERS
    fvt:~ J::'_                z....._    DESIGNEDTOPROVIDEIN-HOMEVOICEOVERINTERNETPROTOCOL(VOIP)COMMU-
                                          NICATIONS; COMPUTER AND VIDEO GAME SYSTEMS DEVICES. NAMELY, ELECTRONIC
     Deputy Dire<torofthe United Stntes   SENSOR DEVICES, CAMERAS, PROJECTORS, HEADPHONES, AND MICROPHONES;
       Patent and Trademark Oflke         ELECTRONIC GAME EQUIPMENT, NAMELY, EQUIPMENT COMMUNICATING WITH A
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 14 of 48 PageID 41




        Reg. No. 4,552,363   TELEVISION OR COMPUTER FOR PLAYING ELECTRONIC GAMES, IN CLASS 9 (U.S.
                             CLS. 21, 23, 26, 36 AND 38).

                             FIRST USE 8-0-20 12; IN COMMERCE 8-0-2012

                             FOR: PUBLICATIONS, NAMELY, USER MANUALS, INSTRUCTION GUIDES, REFERENCE
                             GUIDES, BOOKS, MAGAZINES, AND NEWSLETTERS IN THE FIELD OF COMPUTERS,
                             COMPUTER SOFTWARE, BUSINESS, BUSINESS MANAGEMENT AND ACCOUNTING,
                             COMPUTER GAMES, GAMES AND ENTERTAINMENT; STATIONERY, STATIONERY-
                             TYPE PORTFOLIOS, STATIONERY ITEMS, NAMELY, PENS, PENCILS, DESK SETS, PEN
                             AND PENCIL HOLDERS, POSTERS, MEMO PADS, BINDERS, CALENDARS, NOTEBOOKS,
                             NOTE CARDS, IN CLASS 16 (U.S. CLS. 2, 5, 22, 23, 29, 37, 38 AND 50).

                             FIRST USE 8-0-20 12; IN COMMERCE 8-0-2012.

                             FOR: CLOTHING, NAMELY, SHIRTS, SWEATSHIRTS, VESTS, JACKETS, COATS,
                             SWEATERS, CAPS, HEADWEAR, HATS, VISORS, IN CLASS 25 (U.S. CLS 22 AND 39).

                             FIRST USE 8-0-20 12; IN COMMERCE 8-0-2012.

                             FOR: TOYS AND SPORTING GOODS, NAMELY, SPORT BALLS, GOLF BALLS, GOLF
                             TEES, SQUEEZABLE BALLS, AND FLYING DISC TOYS; PLUSH, STUFFED, AND SOFT
                             SCULPTURED TOYS; YO-YOS; MECHANICAL ACTION TOYS, IN CLASS 28 (U.S. CLS.
                             22, 23, 38 AND SO).

                             FIRST USE 8-0-20 13; IN COMMERCE 8-0-2013.

                             FOR: PROVIDING INFORMATION IN TIIE FIELDS OF BUSINESS AND COMMERCE OVER
                             GLOBAL COMPUTER NETWORKS AND GLOBAL COMMUNICATIONS NETWORKS;
                             RETAIL STORE SERVICES AND ONLINE RETAIL STORE SERVICES FEATURING COM-
                             PUTERS, COMPUTER HARDWARE, SOFTWARE, COMPUTER GAMES, COMPUTER
                             PERIPHERALS, PORTABLE MUSIC PLAYERS AND ACCESSORIES, PERSONAL DIGITAL
                             ASSISTANTS, CELL PHONES AND ACCESSORJES, VIDEO GAME CONSOLES AND AC-
                             CESSORIES, WEBCAMS, BOOKS, CLOTl-llNG, BACK PACKS. MESSENGER BAGS, COM-
                             PUTER BAGS AND NOVELTY ITEMS; BUSINESS SERVICES, NAMELY, BUSINESS
                             CONSULTATION AND MARKETING SERVICES, BUSINESS ADVICE AND INFORMATION
                             SERVICES; PROVIDING CONSUMER PRODUCT INFORMATION VIA GLOBAL COMPUTER
                             NETWORKS; PROMOTING THE GOODS AND SERVICES OF OTHERS VIA GLOBAL
                             COMPUTER NETWORKS, PROCUREMENT SERVICES FOR OTHERS; THE BRINGING
                             TOGETHER, FOR THE BENEFIT OF OTHERS, OF A VARJETY OF GOODS AND SERVICES,
                             ENABLING CUSTOMERS TO CONVENIENTLY VIEW AND PURCHASE THOSE GOODS
                             AND SERVICES FROM AN INTERNET WEB SITE PARTICULARLY SPECIALIZING IN
                             THE MARKETING OF THE SALE OF GOODS AND SERVICES OF OTHERS, IN CLASS 35
                             (U.S. CLS 100, IOI AND 102).

                             FIRST USE 8-0-20 12; IN COMMERCE 8-0-2012.

                             FOR: PROVIDING INFORMATION IN THE FIELD OF FINANCIAL NEWS; CHARJTABLE
                             SERVICES, NAMELY, PROVIDING FUNDING AND FINANCIAL ASSISTANCE TO COM-
                             PUTER AND TECI-INOLOGY TRAINING ORGANIZATIONS; FINANCIAL SERVICES,
                             NAMELY, PROVIDING A VIRTUAL CURRENCY FOR USE BY MEMBERS OF AN ONLINE
                             COMMUNITY VIA GLOBAL COMPUTER NETWORKS AND GLOBAL COMMUNICATION
                             NETWORKS, IN CLASS 36 (U.S. CLS. 100, 10 1AND 102).

                             FIRST USE 8-0-20 12; IN COMMERCE 8-0-2012.

                             FOR: COMMUNICATION SERVICES, NAMELY, ELECTRONIC TRANSMISSION OF DATA
                             AND DOCUMENTS AMONG USERS OF COMPUTERS; TRANSMISSIONOFVOICE, AUDIO,




                                        Page: 2 / RN # 4,552,363
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 15 of 48 PageID 42




        Reg. No. 4 552 363   VISUAL IMAGES AND DAL\ BY TELECOMMUNICATIONS NETWORKS, WIRELESS
                  '   '      COMMUNICATION NETWORKS, GLOBALCOMMUNICATIONNETWORKSANDGLOBAL
                             COMPUTER NETWORKS; STREAMING OF AUDIO AND VIDEO OVER GLOBAL COM-
                             PUTER NETWORKS AND GLOBAL COMMUNICATION NETWORKS; INFORMATION
                             TRANSMJSSION VIA ELECTRONIC COMMUNICATIONS NETWORKS; ELECTRONIC
                             MAIL AND MESSAGING SERVICES; ELECTRONIC DATA TRANSMISSION; ELECTRONIC
                             DELIVERY OF IMAGES AND PHOTOGRAPHS VIA GLOBAL COMPUTER NETWORKS;
                             INSU\NT MESSAGING SERVICES; VOICE OVER INTERNET PROTOCOL (VOiP) SERVICES;
                             AUDIO AND VIDEO BROADCASTING SERVICES OVER GLOBAL COMMUNICATION
                             NETWORKS AND GLOBAL COMPUTER NETWORKS; PROVIDING ONLINE CHAT ROOMS
                             FOR SOCIAL NETWORKING; CONSULTING TN THE FIELD OF TELECOMMUNICATION
                             SERVICES, NAMELY, TRANSMJSSION OF VOICE, DATA, AND DOCUMENTS VIA
                             TELECOMMUNICATIONS NETWORKS; CONSULTING SERVICES IN THE FIELD OF
                             COMMUNICATIONS; PROVIDING ACCESS TO DATABASES; PROVIDING USER ACCESS
                             TO A GLOBAL COMPUTER NETWORK, IN CLASS 38 (U.S. CLS. 100, IOI AND 104).

                             FIRST USE 8-0-20 12; TN COMMERCE 8-0-2012

                             FOR: ELECTRONIC STORAGE AND ARCHJVING OF FILES, DOCUMENTS, DIGITAL
                             PHOTOGRAPHS, VIDEOS, MUSIC, ELECTRONIC MEDIA, NAMELY, IMAGES, TEXT, AND
                             AUDIO DATA; PROVIDING A WEB SITE AND WEB SITE LINKS TO GEOGRAPl-IlC IN-
                             FORMATION, MAPIMAGES,AND TRIP ROUTING; PROVIDING AN ONLINE SEARCl-IABLE
                             COMPUTER DAD\BASE FEATURING TRAVEL INFORMATION; PROVIDING INFORMA-
                             TION, NEWS AND COMMENTARY IN THE FIELD OF TRAVEL; TRANSPORTATION
                             SERVICES, NAMELY, PROVIDING INFORMATION CONCERNING MOTOR VEHJCLES,
                             TRAVEL AND TRAVEL-RELATED SUBJECTS OVER COMPUTER NETWORKS AND
                             GLOBAL COMMUNICATION NETWORKS, IN CLASS 39 (U.S. CLS. I00 AND I05).

                             FIRST USE 8-0-2012; IN COMMERCE 8-0-2012.

                             FOR PROVIDING INFORMATION AND TRAINING PROGRAMS RELATING TO OPPOR-
                             TUNITIES FOR YOUTH IN THE FIELD OF EDUCATION, TRAlNING, EMPLOYMENT, AND
                             ENTREPRENEURSHIP; ENTERTAINMENT SERVICES, NAMELY, PROVIDING ONLINE
                             COMPUTER GAMES, ONLINE ELECTRONIC GAMES AND ONLINE VIDEO GAMES; EN-
                             TERD\INMENT SERVICES, NAMELY, PROVIDING WEBSITES FEATURING INFORMATION
                             IN HIE FIELDS OF ENTERTAINMENT, MUSIC, MOVIES, VIDEO, GAMES, NEWS, AND
                             SPORTS; ENTERTAINMENT SERVICES, NAMELY, PROVIDING WEBSITES FEATURING
                             VIRTUAL ENVIRONMENTS JN WHJCH USERS CAN INTERACT FOR RECREATIONAL,
                             LEISURE OR ENTERTAINMENT PURPOSES; ENTERTAINMENT SERVICES, NAMELY,
                             PROVIDING INTERACTIVE MULTIPLAYER GAME SERVICES FOR GAMES PLAYED
                             OVERGLOBALCOMPUTERNETWORKSANDGLOBALCOMMUNICATIONNETWORKS;
                             PROVIDING INFORMATION ON HIE VIDEO GAME AND COMPUTER GAME INDUSTRIES
                             VIA GLOBAL COMPUTER NETWORKS AND GLOBAL COMMUNICATION NETWORKS;
                             PROVIDING INFORMATION, NEWS AND COMMENTARY IN THE FIELD OF ENTERTAIN-
                             MENT; PROVIDING INFORMATION ON COMPUTER GAMES, VIDEO GAMES, VIDEO
                             GAMECONSOLESANDACCESSORJES THEREOF VIA GLOBAL COMPUTER NETWORKS
                             AND GLOBAL COMMUNICATION NETWORKS, IN CLASS 41 (U.S. CLS. 100, 10 1 AND
                             107).

                             FIRST USE 8-0-2012; IN COMMERCE 8-0-2012.

                             FOR: APPLICATION SERVICE PROVIDER, NAMELY, HOSTING, MANAGING, DEVELOP-
                             ING, ANALYZING, UPDATING AND MALNTJ\LNING APPLICATIONS, COMPUTER OPER-
                             ATING SYSTEMS, SOFTWARE, AND WEB SITES FOR OTHERS; PROVIDING TECHNICAL
                             SUPPORT, CONSULTATION AND RESOURCES IN THE FIELDS OF COMPUTER SECURITY,
                             PRIVACY AND ONLINE SAFETY; COMPUTER DIAGNOSTIC SERVICES; COMPUTER
                             SERVICES, NAMELY, DATA RECOVERY SERVICES; ONLINE TECHNICAL SUPPORT,
                             TROUBLESHOOTING, TESTING, AND CONSULTING SERVICES TN THE FIELD OF




                                        Page: 3 I RN# 4,552,363
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 16 of 48 PageID 43




        Reg. No. 4 552 363   COMPUTERS, COMPUTER SOFTWARE AND COMPUTER SYSTEMS; COMPUTER SER-
                  '   '      VICES, NAMELY, COMPUTER SYSTEM ADMINISTRATION FOR OTHERS; COMPUTER
                             SERVICES, NAMELY, REMOTE MANAGEMENT OF THE INFORMATION TECHNOLOGY
                             (IT) SYSTEMS OF OTHERS; COMPUTER SERVICES, NAMELY, CLOUD HOSTING PRO-
                             VIDER SERVICES; CONSULTING SERVICES IN THE FIELD OF CLOUD COMPUTING;
                             COMPUTER SOFTWARE DESIGN; COMPUTER SOFTWARE DEVELOPMENT AND COM-
                             PUTER PROGRAMMING DEVELOPMENT FOR OTHERS; CONSULIANCY IN THE FIELD
                             OF SOFTWARE DESIGN; CONSULTING IN THE FIELD OF INFORMATION TECI-INOLOG Y;
                             CONSULTINGSERVICESINTHEFIELDOFCOMPUTER-BASEDINFORMATIONSYSTEMS
                             FOR BUSINESSES; CONSULTING SERVICES IN THE FIELD OF PROVIDING ONLINE,
                             NON-DOWNLOADABLE SOFTWARE AND APPLICATIONS; PROVIDING ONLINE NON-
                             DOWNLOADABLE BUSINESS AND GENERAL PURPOSE APPLICATION SOFTWARE;
                             PROVIDING ONLINE NON-DOWNLOADABLE SOFTWARE FOR WEBSITE DEVELOPMENT
                             AND DATABASE MANAGEMENT; PROVIDE NON-DOWNLOADABLE SOFTWARE FOR
                             INTERNET SEARCHING, DATABASE MANAGEMENT, PROVIDING INTERNET SEARCH
                             ENGINE; PROVIDING INFORMATION IN THE FIELD OF COMPUTER SYSTEMS, SOFT-
                             WARE, HARDWARE, INTERNET, NETWORKS, DATABASES AND MOBILEAPPLICATIONS,
                             INCLASS42(U.S.CLS. IOOAND 101).

                             FIRST USE 8-0-20 12; IN COMMERCE 8-0-2012.

                             FOR: CONSULTING SERVICES IN TI-IE FIELD OF MAINTAINING THE SECURITY AND
                             INTEGRITY OF DAD\BASES; PERSONAL SERVICES, NAMELY, PROVIDING ONLINE
                             SOCIAL NETWORKING SERVICES; PROVIDING ONLINE COMPUTER DATABASES AND
                             ONLINESEARCHABLEDATABASESINTHEFTELDOFSOCIALNETWORKING, INCLASS
                             45 (U.S. CLS. IOOAND 10 1).

                             FIRST USE 8-0-20 12; IN COMMERCE 8-0-2012.

                             OWNER OF U.S. REG NOS. 2,250,973, 4,029,299, AND OTI-IERS.

                             THE MARK CONSISTS OF FOUR SQUARES ARRANGED IN A RECTANGULAR GRID
                             ADJACENT TO THE WORDING "MJCROSOFT". THE SQUARES ARE SEPARATED BY
                             BLANK SPACE.

                             SN 85-710,265, FILED 8-22-2012.

                             ZACHARY BELLO, EXAMINTNG ATTORNEY




                                         Page: 4 I RN# 4,552,363
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 17 of 48 PageID 44




                                 REQ UIRE MENTS TO MA INTAIN YOUR FEDE RAL
                                         TRADEMARK REGI STRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED I F YOU DO NOT FILE THE
                   DOCUMENTS BE LOW DURING THE SPECIFIED TIME PE RIODS.

        Requirements in t he First Ten Years*
        What a nd When to F i.le:

                   First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                  5th and 6th years after the registration date. See 15 U.S.C. §§ 1058, 114 lk. If the declaration is
                  accepted, the registration will continue in force for1J1e remainder of the ten-year period, calculated
                  from the registration date, unJess cancelled by an order of the Commissioner for Trademarks or a
                  federal court.

                   Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                  Application for Renewal between the 9th and 10th years after the reg istration date.*
                  See 15 U.S.C. §1059.

        Requirements in Successive Ten-Year Pe riods*
        What a nd When to File:

                  You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                  every 9th and 10th-year period, calculated from the registration date.*

        Grace Period Filings*

        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.


          The United States Patent and Trad em ark Office (USPTO) will NOT send you :my future notice or
                                       reminder of these filing requirements.

        *.AU.~~'.TION MADRID PROTOCOL R EGIS TRANTS: The holder of an international registration witJ1
        an e<ttension of protection to the United States under tJ1e Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directJy with the USPTO. The time periods for filing are
        based on the U.S. registration date (not the international registration date). The deadlines and grace periods
        for tJ1e Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registra tions.
        See 15 U.S.C. §§ 1058, 1141k. However, owners of international registrations do not file renewal applications
        at the USPTO. Instead, fuc holder must file a renewal of the underlying international registration at tJ1e
        InternalionaJ Bureau of the World IntellectuaJ Property Organiza tion, under Article 7 of the Madrid Protocol,
        before the expiration of each ten-year tenn of protection, calculated from the date of the international
        registration. See 15 U .S.C. §114 lj. For more infonnation and renewal forms for the international registration,
        see http://www.wipo.int/madrid/en/.

        NOTE: Fees and requirements for maintaining regist r ations are subject to change. Please check the
        USPT O website for further information. With the exce1>tion of renewal ap1>lications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at hllp://www.uspto.gov.




                                                  Page: 5 I RN # 4,552,363
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 18 of 48 PageID 45




                        EXHIBIT 7
 Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 19 of 48 PageID 46




Reg. No. 4,560,827                             MICROSOFT CORPORATION (WASHINGTON CORPORATION)
                                               ONE MICROSOFT WAY
Registered July I, 2014                        REDMOND. WA 980526399

Int. Cls.: 9, 16, 25, 35, 36,                  FOR: COMPUTER OPERATING SYSTEM PROGRAMS AND UTILITIES: COMPUTER AP-
38, 39, 41, 42, and 45                         PLICATION SOFTWARE FOR WIRELESS TELECOMMUNICATIONS FOR USE WITH
                                               WIRELESS DEVICES; COMPUTER SOFTWARE TO ENABLE UPLOADNG, DOWNLOAD-
                                               ING, ACCESSING. POSTING, DTSPLAYING, TAGGING, BLOGGING, STREAMING. LINKJNG,
TRADEMARK                                      SHARJNG OR OTHERWISE PROVIDING ELECTRONIC MEDIA OR INFORMATION VIA
                                               COMPUTER AND COMMUNICATION NETWORKS: SOFTWARE FOR ALLOWING COM-
SERVl CE MARK                                  MUNI CATION AND INTERACTION BETWEEN PHONES, MOBILE DEVICES, TELEVISIONS,
                                               VIDEO GAME CONSOLES, MEDIA PLAYERS, COMPUTERS, DIGITAL MEDIA HUB , AND
PRINCIPAL REGISTER                             AUDIOVISUAL DEVICES; COMPUTER SOFTWARE FOR USE BY COMPUTER NETWORK
                                               ADMINISTRATORS TO DEPLOY AND MANAGE APPLICATION SOFTWARE AND NET-
                                               WORK SERVER SOFTWARE; COMPUTER NETWORK SERVER SOFTWARE FOR MAN-
                                               AGING USER CONTENT ON COMPUTER NETWORKS AND GLOBAL COMPUTER NET-
                                               WORKS; COMPUTER SOFTWARE FOR MANAGING SECURE COMMUNICATIONS OVER
                                               COMPUTER NETWORKS AND GLOBAL COMPUTER NETWORKS; COMPUTER SOFTWARE
                                               FOR DEVELOPING. MANAGING AND OPERATING INTRANET SITES: COMPUTER NET-
                                               WORK OPERATlNG SOFTWARE AND UTILITIES: COMPUTER SOFTWARE DEVELOP-
                                               MENT TOOLS FOR NETWORK SERVERS AND APPLICATIONS: COMPUTER SOFTWARE
                                               FOR INVENTORYING AND MONITORING COMPUTER HARDWARE AND SOFTWARE
                                               ASSETS AND USE WITHIN AN ORGANIZATION; COMPUTER APPLICATION PROGRAMS
                                               AND OPERATING SYSTEM PROGRAMS FOR USE WITH COMMUNICATIONS SERVERS:
                                               COMPUTER PROGRAMS FOR MANAGING COMMUNICATIONS AND DATA EXCI IANGE
                                               BETWEEN COMPUTERS AND ELECTRONIC DEVICES; OPERATING SYSTEMS SOFTWARE
                                               FOR USE IN PLAYING ELECTRONIC GAMES; COMPUTER HARDWARE AND PERTPHER-
                                               ALS: COMPUTER KEYBOARDS; COMPUTER MICE AND WIRELESS COMPUTER MICE;
                                               WIRELESS COMMUNICATIONS DEVICES. NAMELY, MOBILE PHONES, CELLULAR
                                               TELEPHO ES, PERSONAL DIGITAL ASSISTANTS, AND llAND-HELD COMPUTERS;
                                               HARDWARE FOR TELECOMMUNICATIONS FOR CONNECTING Dl::.VICES VIA IN-HOMF
                                               PHONE AND ELECTRlCAL WIRI NG. NAMELY. COMPUTER NETWORKS HUBS, COM-
                                               PUTER SERVERS, SET-TOP BOXES, COMPUTER SWITCHES AND COMPUTER ROUTERS
'f/A.. ~                   J<_     z___        DESIGNED TO PROVIDE IN-HOME VOICE OVER INTERNET PROTOCOL (VOiP) COMM U-
                                               NICATIONS: COMPUTER AND VIDEO GAME SYSTEMS DEVICES. NAMELY, ELfCTRONIC
  Oepucy Oir""tor of t ht' t 'nitt'd S111te'   SENSOR DEVICES, CAMERAS, PROJECTORS, HEADPHONES. AND MICROPHONES;
    Pntent nnd Tmdemnrk Ollire                 ELECTRONIC GAME EQUIPMENT, NAMELY, EQUIPMENT COMMUNICATING WITI I A
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 20 of 48 PageID 47



   Reg. No. 4,560,827   TELEVISION OR COMPUTER FOR PLAYING ELECTRONIC GAMES, IN CLASS 9 (U.S.
                        CLS. 21, 23, 26, 36 AND 38).

                        FIRST USE 8-0-2012; IN COMMERCE 8-0-2012.

                        FOR: PUBLICATIONS, NAMELY, USER MANUALS, INSTRUCTION GUIDES, REFERENCE
                        GUIDES, BOOKS, MAGAZINES, AND NEWSLETTERS IN THE FIELD OF COMPUTERS,
                        COMPUTER SOFTWARE, BUSINESS, BUSINESS MANAGEMENT AND ACCOUNTING,
                        COMPUTER GAMES, GAMES AND ENTERTAINMENT; STATIONERY, STATIONERY-
                        TYPE PORTFOLIOS, STATIONERY ITEMS, NAMELY, PENS, PENCILS, DESK SETS, PEN
                        AND PENCIL HOLDERS, POSTERS, MEMO PADS, BINDERS, CALENDARS, NOTEBOOKS,
                        NOTE CARDS, IN CLASS 16 (U.S. CLS. 2, 5, 22, 23, 29, 37, 38 AND 50).

                        FIRST USE 8-0-2012; IN COMMERCE 8-0-2012.

                        FOR: CLOTHING, NAMELY, SHIRTS, SWEATSHIRTS, VESTS, JACKETS, COATS,
                        SWEATERS, CAPS, HEADWEAR, HATS, VISORS, IN CLASS 25 (U.S. CLS. 22 AND 39).

                        FIRST USE 8-0-2012; IN COMMERCE 8-0-2012.

                        FOR: PROVIDING INFORMATION IN THE FIELDS OF BUSINESS AND COMMERCE OVER
                        GLOBAL COMPUTER NETWORKS AND GLOBAL COMMUNICATIONS NETWORKS;
                        RETAIL STORE SERVICES AND ONLINE RETAIL STORE SERVICES FEATURING COM-
                        PUTERS, COMPUTER HARDWARE, SOFTWARE, COMPUTER GAMES, COMPUTER
                        PERIPHERALS, PORTABLE MUSIC PLAYERS AND ACCESSORIES, PERSONAL DIGITAL
                        ASSISTANTS, CELL PHONES AND ACCESSORIES, VIDEO GAME CONSOLES AND AC-
                        CESSORIES, WEBCAMS, BOOKS, CLOTHING, BACK PACKS, MESSENGER BAGS, COM-
                        PUTER BAGS AND NOVELTY ITEMS; BUSINESS SERVICES, NAMELY, BUSINESS
                        CONSULTATION AND MARKETING SERVICES, BUSINESS ADVICE AND INFORMATION
                        SERVICES; PROVIDING CONSUMER PRODUCT INFORMATION VIA GLOBAL COMPUTER
                        NETWORKS; PROMOTING THE GOODS AND SERVICES OF OTHERS VIA GLOBAL
                        COMPUTER NETWORKS, PROCUREMENT SERVICES FOR OTHERS; THE BRINGING
                        TOGETHER, FOR THE BENEFIT OF OTHERS, OF A VARIETY OF GOODS AND SERVICES,
                        ENABLING CUSTOMERS TO CONVENIENTLY VIEW AND PURCHASE THOSE GOODS
                        AND SERVICES FROM AN INTERNET WEB SITE PARTICULARLY SPECIALIZING IN
                        THE MARKETING OF THE'SALE OF GOODS AND SERVICES OF OTHERS, IN CLASS 35
                        (U.S. CLS. 100, IOI AND 102).

                        FIRST USE 8-0-2012; IN COMMERCE 8-0-2012.

                        FOR: PROVIDING INFORMATION IN THE FIELD OF FINANCIAL NEWS; CHARITABLE
                        SERVICES, NAMELY, PROVIDING FUNDING AND FINANCIAL ASSISTANCE TO COM-
                        PUTER AND TECHNOLOGY TRAINING ORGANIZATIONS; FINANCIAL SERVICES,
                        NAMELY, PROVIDING A VIRTUAL CURRENCY FOR USE BY MEMBERS OF AN ONLINE
                        COMMUNITY VIA GLOBAL COMPUTER NETWORKS AND GLOBAL COMMUNICATION
                        NETWORKS, IN CLASS 36 (U.S. CLS. 100, IOI AND 102).

                        FIRST USE 8-0-2012; IN COMMERCE 8-0-2012.

                        FOR: COMMUNICATION SERVICES, NAMELY, ELECTRONIC TRANSMISSION OF DATA
                        AND DOCUMENTS AMONG USERS OF COMPUTERS; TRANSMISSION OF VOICE, AUDIO,
                        VISUAL IMAGES AND DATA BY TELECOMMUNICATIONS NETWORKS, WIRELESS
                        COMMUNICATION NETWORKS, GLOBAL COMMUNICATION NETWORKS AND GLOBAL
                        COMPUTER NETWORKS; STREAMING OF AUDIO AND VIDEO OVER GLOBAL COM-
                        PUTER NETWORKS AND GLOBAL COMMUNICATION NETWORKS; INFORMATION
                        TRANSMISSION VIA ELECTRONIC COMMUNICATIONS NETWORKS; ELECTRONIC
                        MAIL AND MESSAGING SERVICES; ELECTRONIC DATA TRANSMISSION; ELECTRONIC
                        DELIVERY OF IMAGES AND PHOTOGRAPHS VIA GLOBAL COMPUTER NETWORKS;




                                   Page: 2 I RN # 4,560,827
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 21 of 48 PageID 48



   Reg. No. 4 560 827   INSTANTMESSAGINGSERVIcEs;vmcEoVERINTERNETPROTocoL(VOIP)SERVICEs;
             '   '      AUDIO AND VIDEO BROADCASTING SERVICES OVER GLOBAL COMMUNICATION
                        NETWORKS AND GLOBAL COMPUTER NETWORKS; PROVIDING ONLINE CHAT ROOMS
                        FOR SOCIAL NETWORKING; CONSULTING IN THE FIELD OF TELECOMMUNICATION
                        SERVICES, NAMELY, TRANSMISSION OF VOICE, DATA, AND DOCUMENTS VIA
                        TELECOMMUNICATIONS NETWORKS; CONSULTING SERVICES IN THE FIELD OF
                        COMMUNICATIONS; PROVIDING ACCESS TO DATABASES; PROVIDING USER ACCESS
                        TO A GLOBAL COMPUTER NETWORK, IN CLASS 38 (U.S. CLS. I 00, I 01 AND I 04).

                        FIRST USE 8-0-2012; IN COMMERCE 8-0-2012.

                        FOR: ELECTRONIC STORAGE AND ARCHIVING OF FILES, DOCUMENTS, DIGITAL
                        PHOTOGRAPHS, VIDEOS, MUSIC, ELECTRONIC MEDIA, NAMELY, IMAGES, TEXT, AND
                        AUDIO DATA; PROVIDING A WEB SITE AND WEB SITE LINKS TO GEOGRAPHIC IN-
                        FORMATION, MAP IMAGES, AND TRIP ROUTING; PROVIDING AN ONLINE SEARCHABLE
                        COMPUTER DATABASE FEATURING TRAVEL INFORMATION; PROVIDING INFORMA-
                        TION, NEWS AND COMMENTARY IN THE FIELD OF TRAVEL; TRANSPORTATION
                        SERVICES, NAMELY, PROVIDING INFORMATION CONCERNING MOTOR VEHICLES,
                        TRAVEL AND TRAVEL-RELATED SUBJECTS OVER COMPUTER NETWORKS AND
                        GLOBAL COMMUNICATION NETWORKS, IN CLASS 39 (U.S. CLS. I 00 AND I 05).

                        FIRST USE 8-0-2012; IN COMMERCE 8-0-2012.

                        FOR: PROVIDING TRAINING AND INFORMATION ABOUT TRAINING PROGRAMS RE-
                        LATING TO OPPORTUNITIES FOR YOUTH IN THE FIELD OF EDUCATION, TRAINING,
                        EMPLOYMENT, AND ENTREPRENEURSHIP; ENTERTAINMENT SERVICES, NAMELY,
                        PROVIDING ONLINE COMPUTER GAMES, ONLINE ELECTRONIC GAMES AND ONLINE
                        VIDEO GAMES; ENTERTAINMENT SERVICES, NAMELY, PROVIDING WEBSITES FEA-
                        TURING INFORMATION IN THE FIELDS OF ENTERTAINMENT, MUSIC, MOVIES, VIDEO,
                        GAMES, NEWS, AND SPORTS; ENTERTAINMENT SERVICES, NAMELY, PROVIDING
                        WEBSITES FEATURING VIRTUAL ENVIRONMENTS IN WHICH USERS CAN INTERACT
                        FOR RECREATIONAL, LEISURE OR ENTERTAINMENT PURPOSES; ENTERTAINMENT
                        SERVICES, NAMELY, PROVIDING INTERACTIVE MULTIPLAYER GAME SERVICES FOR
                        GAMES PLAYED OVER GLOBAL COMPUTER NETWORKS AND GLOBAL COMMUNIC-
                        ATION NETWORKS; PROVIDING INFORMATION ON THE VIDEO GAMEAND COMPUTER
                        GAME INDUSTRIES VIA GLOBAL COMPUTER NETWORKS AND GLOBAL COMMUNIC-
                        ATION NETWORKS; PROVIDING INFORMATION, NEWS AND COMMENTARY IN THE
                        FIELD OF ENTERTAINMENT; PROVIDING INFORMATION ON COMPUTER GAMES,
                        VIDEO GAMES, VIDEO GAME CONSOLES AND ACCESSORIES THEREOF VIA GLOBAL
                        COMPUTER NETWORKS AND GLOBAL COMMUNICATION NETWORKS, IN CLASS 41
                        (U.S. CLS. I 00, I 0 I AND I 07).

                        FIRST USE 8-0-2012; IN COMMERCE 8-0-2012.

                        FOR: APPLICATION SERVICE PROVIDER, NAMELY, HOSTING, MANAGING, DEVELOP-
                        ING, ANALYZING, UPDATING AND MAINTAINING APPLICATIONS, COMPUTER OPER-
                        ATING SYSTEMS, SOFTWARE, AND WEB SITES FOR OTHERS; PROVIDING TECHNICAL
                        SUPPORT, CONSULTATION AND RESOURCES IN THE FIELDS OF COMPUTER SECURITY,
                        PRIVACY AND ONLINE SAFETY; COMPUTER DIAGNOSTIC SERVICES; COMPUTER
                        SERVICES, NAMELY, DATA RECOVERY SERVICES; ONLINE TECHNICAL SUPPORT,
                        TROUBLESHOOTING, TESTING, AND CONSULTING SERVICES IN THE FIELD OF
                        COMPUTERS, COMPUTER SOFTWARE AND COMPUTER SYSTEMS; COMPUTER SER-
                        VICES, NAMELY, COMPUTER SYSTEM ADMINISTRATION FOR OTHERS; COMPUTER
                        SERVICES, NAMELY, REMOTE MANAGEMENT OF THE INFORMATION TECHNOLOGY
                        (IT) SYSTEMS OF OTHERS; COMPUTER SERVICES, NAMELY, CLOUD HOSTING PRO-
                        VIDER SERVICES; CONSULTING SERVICES IN THE FIELD OF CLOUD COMPUTING;
                        COMPUTER SOFTWARE DESIGN; COMPUTER SOFTWARE DEVELOPMENT AND COM-
                        PUTER PROGRAMMING DEVELOPMENT FOR OTHERS; CONSULTANCY IN THE FIELD




                                   Page: 3 I RN # 4,560,827
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 22 of 48 PageID 49




   Reg. NO. 4,560,827   OF SOFTWARE DESIGN; CONSULTING INTHE FIELD OF INFORMATION TECHNOLOGY;
                        CONSULTING SERVICES IN THE FIELD OF COMPUTER-BASED INFORMATION SYSTEMS
                        FOR BUSINESSES; CONSULTING SERVICES IN THE FIELD OF PROVIDING ONLINE,
                        NON-DOWNLOADABLE SOFTWARE AND APPLICATIONS; PROVIDING ONLINE NON-
                        DOWNLOADABLE BUSINESS AND GENERAL PURPOSE APPLICATION SOFTWARE;
                        PROVIDING ONLINE NON-DOWNLOADABLE SOFTWARE FOR WEBSITE DEVELOPMENT
                        AND DATABASE MANAGEMENT; PROVIDE NON-DOWNLOADABLE SOFTWARE FOR
                        INTERNET SEARCHING, DATABASE MANAGEMENT, PROVIDING INTERNET SEARCH
                        ENGINE; PROVIDING INFORMATION IN THE FIELD OF COMPUTER SYSTEMS, SOFT-
                        WARE, HARDWARE, INTERNET, NETWORKS, DATABASES AND MOBILE APPLICATIONS,
                        IN CLASS 42 (U.S. CLS. IOOAND IOI).

                        FIRST USE 8-0-2012; IN COMMERCE 8-0-2012.

                        FOR: CONSULTING SERVICES IN THE FIELD OF MAINTAINING THE SECURITY AND
                        INTEGRITY OF DATABASES; PERSONAL SERVICES, NAMELY, PROVIDING ONLINE
                        SOCIAL NETWORKING SERVICES; PROVIDING ONLINE COMPUTER DATABASES AND
                        ONLINE SEARCHABLE DATABASES IN THE FIELD OF SOCIAL NETWORKING, IN CLASS
                        45 (U.S. CLS. IOOAND IOI).

                        FIRST USE 8-0-2012; IN COMMERCE 8-0-2012.

                        OWNER OF U.S. REG. NOS. 2,730,599, 4,029,299, AND OTHERS.

                        THE COLOR(S) RED, GREEN, BLUE, AND YELLOW IS/ARE CLAIMED AS A FEATURE
                        OF THE MARK.

                        THE MARK CONSISTS OF FOUR SQUARES ARRANGED IN A RECTANGULAR GRID.
                        THE UPPER LEFT SQUARE IS RED, THE LOWER LEFT SQUARE IS BLUE, THE UPPER
                        RIGHT SQUARE IS GREEN AND THE LOWER RIGHT SQUARE IS YELLOW. THE SQUARES
                        ARE SEPARATED BY BLANK SPACE.

                        SN 85-710,258, FILED 8-22-2012.

                        ZACHARY BELLO, EXAMINING ATTORNEY




                                    Page: 4 I RN # 4,560,827
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 23 of 48 PageID 50


                             REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                    TRADEMARK REGISTRATION

        WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
               DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

   Requirements in the First Ten Years*
   What and When to File:

        0      First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
              5th and 6th years after the registration date. See 15 U.S.C. §§1058, l 14lk. lfthe declaration is
              accepted, the registration will continue in force for the remainder of the ten-year period, calculated
              from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
              federal court.

              Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
              Application for Renewal between the 9th and 10th years after the registration date.*
              See 15 U.S.C. §1059.

    Requirements in Successive Ten-Year Periods*
    What and When to File:

        •     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
              every 9th and 10th-year period, calculated from the registration date.*

    Grace Period Filings*

   The above documents will be accepted as timely if filed within six months after the deadlines listed above
   with the payment of an additional fee.


      The United States Patent and Trademark Office (USPTO) will NOT send you any future notice or
                                   reminder of these filing requirements.

    *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
    an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
    of Use (or Excusable Nonuse) referenced above directly with the USPTO. The time periods for filing are
    based on the U.S. registration date (not the international registration date). The deadlines and grace periods
    for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
    See 15 U.S.C. §§1058, l 14lk. However, owners of international registrations do not file renewal applications
    at the USPTO. Instead, the holder must file a renewal of the underlying international registration at the
    International Bureau of the World Intellectual Property Organization, under Article 7 of the Madrid Protocol,
    before the expiration of each ten-year term of protection, calculated from the date of the international
    registration. See 15 U.S.C. § 114 lj. For more information and renewal forms for the international registration,
    see http://www.wipo.int/madrid/en/.

    NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
    USPTO website for further information. With the exception of renewal applications for registered
    extensions of protection, you can file the registration maintenance documents referenced above online
    at http://www.uspto.gov.




                                              Page: 5 I RN # 4,560,827
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 24 of 48 PageID 51




        Please note that U.S. Customs & Border Protection (CBP), a bureau of the Department of
        Homeland Security, maintains a trademark recordation system for marks registered at the ·
       .United States Patent and Trademark Office. Parties who register their mar}cs on the Principal
        Register may record these marks with CBP, to assist· CBP in its efforts to prevent the
        importation of goods that infringe registered marks. The recordation database includes
        information regarding all recorded marks,: including images of these marks. _CBP officers
        monitor imports to prevent the importation of goods bearing infririging marks, and can access .
        the recordation database at each of the 317 ports of entry.
                                                                                                '
       CBP's Intellectual Property Rights e-Recordation (IPRR) system, located                      at
       h ttps://apps.cbp.gov/e-recordations/, allows right· holders to electronically file IPR
       recordation applications, thus .significantly reducing the amount of time normally reqllired to-
       process paper applications. Some additional benefits of the system include:
               Elimination of paper applications and supporting documents.

               Copies of the certificate issued by the registering agency (U.S. Patent and Trademark
               Office or the Copyright Office) are retained by the right holder, not submitted to
               CBP.

               Payment by credit card (preferred), check or money order.

               Ability to upload images of the protected work or trademark, thus obviating the need
               to send samples to CBP.

               Redueed time from filing of the application to enforcement by field personnel.
        Information about how to obtain a recordation, and about CBP's Intelleetual Property Rights
        border enforcement program, is available at CBP's web site, -www.cbp.gov.
     Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 25 of 48 PageID 52



                               .                                 .      w ARNING FROM THE USPT() ..
                 ..    'CONCERNlNi} UN OFFICIAL TRADEMARK SO:LICITATIONS
   . . . .i>I~O be ilvii\rdliat piivathompanies notass6Ciat~d WitJi !he Unit~d slate$ Patent and         . ..
   . .• ·•• frad~mark:Office(lJSpf()) often use trademilrk appfiea#o~.and t~iisfratloninfonriatiori from .
          . the tJSPTO's databas·es to mail or e-mail tfademark-tefated soiidfatiC>Iis: these may include . · · .· .
           . offers: (l)forlegal services;(2) for trademarkm6mtonng services; (3) to record trademarks with
             U.S. Customs and Border Protection; and{4) to "register" trademarks in a private registry .
      .·These companies rr\.ay use names that resemble the US PTO name, including, for example, one or
        more ofthe terms "United States," "U.S.," "Traderriark," "Patent," "Registration," "'Office," or
        "Agency/' Increasingly, some companies attempt to make their solicitations mimic the look of
        official goverruhent documents rather than the look of a typical cotnmercial or legal solicitation
        by emphasizing official government data like theUSPTO application serial number, the
        registration rtlimber, the International Class(es), filing dates, and other information that                                                                                                                                                   is
     . publicly available from USPTO records. Many refer to other govetnment agencies and sections.
        of the U.S. Code. Most require "fees" to be paid. .                            .
                                    .         .·                                         .                                                                             .

       Some applicants and registrants have reported· paying fees to these private companies,
        i.nistakeiily thinking thatthey were paying required fees to the USPTO .. So, be sure: to read
      . fradema:fk-telated communicatioris carefully before makirtg idecisiort about whether to resporid.
        All official:correspondence will be from tife "l:Jnited States:Pat~ilt ~rtd·Ttademark Office;'
        in Alexandria:, VA, a:hd if by e... mail, specifically fr<)iri the domain fr@u~pto.gov ."

      · If you receive a trademark-related solicitation that you believe is deceptive, you may file an on-
         line consumer cotnplaintwith the Federal Trade Commission ("FTC"), at www.FTC.gov.
        Although the FTC does not resolve individual consumer complaints, it may institute, as the
         riatiOri's consumer proteCtion agency, investigations and prosecutions based on widespread
       . complaints about particular companies or business practiCes: in addition, the USPTO encourages·
         recipients of deceptive trademark-related solicitations to contact their states' consumer protection
         authorities. Many, if not all, states have the authority to issue investigative subpoenas and file
         complaints against companies engaged in deceptive practices directed toward state residents.
                                                                                                                        .                                                                            .
        For further information about, as well as several examples of, these non-USPTO solicitations,
        please visit the page on the w\:vW.USPTO.gov website entitled ''WARNING:_Norn:-USPTO
        Solicitations That May Resemble Official USPTOComrttunications." ·




_________   _:   __:.._:..:.   _____,______ __________________
                                                   ;             ,._ ____   -·~·-····--·-···-··------···----   --····
                                                                                                                                      .
                                                                                                                            ········-·······----···-···--
                                                                                                                                                            .
                                                                                                                                                                ············-··············---········-··-·········--··-   ----   ___ :.._   ____ ... .:.....• ---··----   ----···----------·   ..   - ·····-·-
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 26 of 48 PageID 53




                        EXHIBIT 8
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 27 of 48 PageID 54




       Int. Cl.: 9

       Prior U.S.    a.: 38
                                                                    Reg. No. 1,872,264
       United States Patent and Trademark Office                      Registered Jan. 10, 199s


                                     TRADEMARK
                                 PRINCIPAL REGISTER


                                       WINDOWS



       MICROSOFf CORPORATION     (DELA WARE      FIRST USE     10-18-1983;   IN   COMMERCE
        CORPORATION)                           10-18-1983.
       ONE MICROSOFf WAY
       REDMOND, WA 980526399                    SEC. 2(F).

         FOR: COMPUTER PROGRAMS AND MANU-       SER. NO. 74-090,419, FILED 8-20-1990.
       ALS SOLD AS A UNIT; NAMELY, GRAPHICAL
       OPERATING ENVIRONMENT PROGRAMS
       FOR MICROCOMPUTERS, IN CLASS 9 (U.S.    ESTHER BELENKER, EXAMINING A TTOR-
       CL. 38).                                  NEY
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 28 of 48 PageID 55




                        EXHIBIT 9
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 29 of 48 PageID 56


                             "'


         Int. CI.: 9
         Prior U.S. Cls.: 21, 23, 26, 36, and 38
                                                                       Reg. No. 2,738,877
         United States Patent and Trademark Office                      Registered July 15, 2003


                                         TRADEMARK
                                     PRINCIPAL REGISTER




        MICROSOFT CORPORATION (WASHINGTON          TER PROGRAMS; COMPUTER SOFTWARE
          CORPORATION)                             PROVIDING BILINGUAL DICTIONARIES; COM-
        ONE MICROSOFT WAY                          PUTER SOFTWARE FOR TEACHING FOREIGN
        REDMOND, WA 980526399                      LANGUAGES; COMPUTER SOFTWARE PROVID-
                                                   ING MAPS AND ATLASES; COMPUTER SOFT-
           FOR: COMPUTER SOFTWARE, NAMELY, OPER-   WARE FOR CREATING RESUMES; COMPUTER
        ATING SYSTEM PROGRAMS AND UTILITIES; A     SOFTWARE FOR ACCOUNTING; COMPUTER
        FULL LINE OF APPLICATION PROGRAMS; WORD    SOFTWARE FOR RECORDING TIME FOR USE IN
        PROCESSING PROGRAMS, ADDRESS BOOK PRO-     ACCOUNTING SYSTEMS; COMPUTER SOFTWARE
        GRAMS, CALCULATOR PROGRAMS, TERMINAL       FOR USE IN COMPUTER AIDED DESIGN (CAD);
        EMULATION PROGRAMS, PROGRAMS FOR           COMPUTER SOFTWARE FOR INVENTORY MAN-
        DOWNLOADING AND PLAYING AUDIO AND          AGEMENT; COMPUTER SOFTWARE FOR PHOTO
        VIDEO, PROGRAMS FOR MANAGING COMPU-        EDITING; COMPUTER SOFTWARE FOR SCAN-
        TER POWER SUPPLIES, PROGRAMS FOR USE IN    NING AND STORING IMAGES; COMPUTER SOFT-
        TRANSMITTING DATA BETWEEN COMPUTERS        WARE, NAMELY, TYPEFACE FONTS STORED ON
        AND OTHER ELECTRONIC DEVICES, COMPUTER     MAGNETIC MEDIA; COMPUTER SOFTWARE FOR
        MAINTENANCE PROGRAMS, PROGRAMS FOR         DESKTOP PUBLISHING; COMPUTER NETWORK
        PROVIDING ENHANCED SPECIAL EFFECTS         ADMINISTRATION SOFTWARE; COMPUTER
        WHILE RUNNING GAME PROGRAMS, PRO-          SOFTWARE FOR CREATING AND ENHANCING
        GRAMS FOR USE IN ACCESSING AND PLAYING     WEB SITES; COMPUTER SOFTWARE FOR COM-
        CDS AND DVDS, BROWSER PROGRAMS, ACCES-     PUTER SECURITY AND ANTI-VIRUS PROTEC-
        SIBILITY PROGRAMS TO MAKE COMPUTERS        TION; COMPUTER SOFTWARE FOR MANAGING
        MORE USEFUL FOR PERSONS WITH DISABIL-      AND CONTROLLING PRINTER SERVERS; COM-
        ITIES; PAINT PROGRAMS, NAMELY, COMPUTER    PUTER PROGRAMS FOR PROVIDING WIRELESS
        SOFTWARE FOR USE IN CREATING, EDITING      NETWORKS; COMPUTER SOFTWARE FOR VI-
        AND COLORING ORA WINGS; ELECTRONIC MAIL    DEOCONFERENCING; COMPUTER SOFTWARE
        PROGRAMS; PROGRAMS FOR ELECTRONIC          FOR MANAGING FACSIMILE AND TELEPHONE
        CONFERENCING; COMPUTER SOFTWARE FOR        COMMUNICATIONS OVER COMPUTER NET-
        PLAYING VIDEO AND ELECTRONIC GAMES AND     WORKS; COMPUTER SOFTWARE FOR COOKING
        COMPUTER GAMES; USER MANUALS THERE-        AND RECIPES; COMPUTER SOFTWARE FOR USE
        FOR SOLD AS A UNIT THEREWITH; CHILDREN'S   WITH INTERNET MESSAGING SERVICES; COM-
        EDUCATIONAL SOFTWARE; COMPUTER TUTOR-      PUTER SOFTWARE FOR USE BY HOTELS TO
        IAL SOFTWARE FOR TEACHING USE OF COMPU-    BOOK RESERVATIONS; COMPUTERS; COMPUTER
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 30 of 48 PageID 57




    HARDWARE; COMPUTER PERIPHERALS; COM-       PERIPHERALS; COMPUTER KEYBOARDS; COM-
    PUTER MICE AND POINTING DEVICES; HAND      PUTER AND VIDEO GAME JOYSTICKS; VIDEO
    HELD COMPUTERS; DVD PLAYERS; DIGITAL       GAME INTERACTIVE CONTROL FLOOR PADS, IN
    CELLULAR PHONES; BLANK SMART CARDS,        CLASS 9 (U.S. CLS. 21, 23, 26, 36 AND 38).
    NAMELY, ENCODED ELECTRONIC CHIP CARDS
    CONTAINING PROGRAMMING FOR VARIOUS           FIRST USE 3-26-2001; IN COMMERCE 3-26-2001.
    BUSINESS AND TECHNICAL FUNCTIONS; COM-
    MUNICATION SERVERS, AND COMPUTER APPLI-       OWNER OF U.S. REG. NOS. 1,815,350 AND
    CATION PROGRAMS AND OPERATING SYSTEM       1,816,354.
    PROGRAMS FOR USE THEREWITH; COMPUTER
    PROGRAMS FOR MANAGING COMMUNICA-            THE MARK CONSISTS OF A FLAG DESIGN.
    TIONS AND DATA EXCHANGE BETWEEN COM-       COLOR IS NOT CLAIMED AS PART OF THE
    PUTERS AND ELECTRONIC DEVICES; VIDEO
                                               MARK.
    GAME MACHINES FOR USE WITH TELEVISIONS
    AND COMPUTERS, AND OPERATING SYSTEM
    SOFTWARE FOR USE THEREWITH; OPERATING        SN 78-043,743, FILED 1-18-2001.
    SYSTEM SOFTWARE FOR USE IN PLAYING ELEC-
    TRONIC GAMES; COMPUTER HARDWARE AND        TARAH HARDY, EXAMINING ATTORNEY
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 31 of 48 PageID 58




                      EXHIBIT 10
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 32 of 48 PageID 59




   Int. Cl.: 9
   Prior U.S. Cls.: 21, 23, 26, 36, and 38
                                                                     Reg. No. 2,744,843
   United States Patent and Trademark Office                           Registered July 29, 2003


                                   TRADEMARK
                                PRINCIPAL REGISTER




   MICROSOFT CORPORATION (WASHINGTON         TER MICE AND POINTING DEVICES; HAND HELD
     c:ORPORATION)                           COMPUTERS; DVD PLAYERS; DIGITAL CELLU-
   ONE MICROSOFT WAY                          LAR PHONES; BLANK SMART CARDS, NAMELY,
   REDMOND, WA 980526399                      ENCODED ELECTRONIC CHIP CARDS CONTAIN-
                                             ING PROGRAMMING FOR VARIOUS BUSINESS
     FOR: COMPUTER SOFfWARE, NAMELY, OPER-   AND TECHNICAL FUNCTIONS; COMMUNICA-
  ATING SYSTEM PROGRAMS AND UTILITIES,       TION SERVERS, AND COMPUTER APPLICATION
   WORD PROCESSING PROGRAMS, ADDRESS         PROGRAMS AND OPERATING SYSTEM PRO-
   BOOK PROGRAMS, CALCULATOR PROGRAMS,       GRAMS FOR USE THEREWITH; COMPUTER PRO-
  TERMINAL EMULATION PROGRAMS, PRO-          GRAMS FOR MANAGING COMMUNICATIONS
  GRAMS FOR DOWNLOADING AND PLAYING          AND DATA EXCHANGE BETWEEN COMPUTERS
  AUDIO AND VIDEO, PROGRAMS FOR MANA-        AND ELECTRONIC DEVICES; VIDEO GAME MA-
  GING COMPUTER POWER SUPPLIES, PROGRAMS     CHINES FOR USE WITH TELEVISIONS AND COM-
  FOR USE IN TRANSMITTING DATA BETWEEN       PUTERS, AND OPERATING SYSTEM SOFTWARE
  COMPUTERS AND OTHER ELECTRONIC DEVI-       FOR USE THEREWITH; OPERATING SYSTEM
  CES, COMPUTER MAINTENANCE PROGRAMS,        SOFfWARE FOR USE IN PLAYING ELECTRONIC
  PROGRAMS FOR PROVIDING ENHANCED SPE-       GAMES; COMPUTER HARDWARE AND PERIPH-
  CIAL EFFECTS WHILE RUNNING GAME PRO-       ERALS; COMPUTER KEYBOARDS; COMPUTER
  GRAMS, PROGRAMS FOR USE IN ACCESSING       AND VIDEO GAME JOYSTICKS; VIDEO GAME
  AND PLAYING CDS AND DVDS, BROWSER PRO-     INTERACTIVE CONTROL FLOOR PADS, IN CLASS
  GRAMS, ACCESSIBILITY PROGRAMS TO MAKE      9 (U.S. CLS. 21, 23, 26, 36 AND 38).
  COMPUTERS MORE USEFUL FOR PERSONS WITH
  DISABILITIES; PAINT PROGRAMS, NAMELY,        FIRST USE 3-26-2001; IN COMMERCE 3-26-2001.
  COMPUTER SOFfWARE FOR USE IN CREATING,
  EDITING AND COLORING DRAWINGS; ELEC-        OWNER OF U.S. REG. NOS. 1,815,350, 1,816,354,
  TRONIC MAIL PROGRAMS; PROGRAMS FOR         AND OTHERS.
  ELECTRONIC CONFERENCING; COMPUTER
  SOFTWARE FOR PLAYING VIDEO AND ELEC-         THE MARK CONSISTS OF A FLAG DESIGN. THE
  TRONIC GAMES AND COMPUTER GAMES; USER      UPPER LEFf PORTION OF THE FLAG IS RED, THE
  MANUALS THEREFOR SOLD AS A UNIT THERE-     LOWER LEFf PORTION IS BLUE. THE UPPER
  WITH; COMPUTERS; COMPUTER HARDWARE;        RIGHT PORTION IS GREEN, AND THE LOWER
  AND FULL LINE OF COMPUTER APPLICATION      RIGHT PORTION IS YELLOW. COLOR IS CLAIMED
  PROGRAMS; COMPUTER PERIPHERALS; COMPU-     AS PART OF THE MARK.
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 33 of 48 PageID 60




                      EXHIBIT 11
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 34 of 48 PageID 61




   Reg. No. 4,400,958                 MICROSOFT CORPORATION (WASHINGTON CORPORATION)
                                      ONE MICROSOFT WAY
   Registered Sep. 10, 2013           REDMOND, WA 980526399

   Int. Cl.: 9                                       FOR COMPUTER OPERATING SYSTEM PROGRAMS; OPERATTNG SYSTEM SOFTWARE
                                                     FOR MOBILE PHONES; MOBn, E PHONES; INTERNET BROWSER SOFTWARE; COMPUTER
                                                     SOFTWARE FOR MANAGING AND CONTROLLING SERVERS FOR BACKUP, STORAGE
   TRADEMARK                                         AND ORGANIZATION OF FILES AND DA1A; COMPUTER PROGRAMS FOR OPERATING
                                                     AND MANAGING NETWORK SERVERS; COMPUTER NETWORK OPERATING SOFTWARE;
   PRINCIPAL REGISTER                                COMPUTER SOFTWARE FOR USE BY COMPUTER NETWORK ADMINISTRATORS TO
                                                     DEPLOY AND MANAGE APPLICATION SOFTWARE AND NETWORK SERVER SOFTWARE;
                                                     COMPUTER NETWORK SERVER SOFTWARE FOR MANAGTNG USER CONTENT ON
                                                     COMPUTER NETWORKS AND GLOBAL COMPUTER NETWORKS; COMPUTER SOFTWARE
                                                     FOR MANAG ING SECURE COMMUNICATIONS OVER COMPUTER NETWORKS AND
                                                     GLOBAL COMPUTER NETWORKS: COMPUTER SOFTWARE FOR MANAGING COMMU-
                                                     NICATIONS BETWEEN COMPUTER NETWORKS AND WIRELESS NETWORKS; COM-
                                                     PUTER SOFTWARE FOR DEVELOPING, MANAGING AND OPERATING INTRANET SITES;
                                                     COMPUTER SOFTWARE DEVELOPMENT TOOLS FOR NETWORK SERVERS AND AP-
                                                     PLICATIONS; COMPUTER SOFTWARE FOR TNVENTORYTNG AND MONlTORTNG COM-
                                                     PUTER HARDWARE AND SOFTWARE ASSETS AND USE WITHIN AN ORGANIZATION;
                                                     COMPUTER SOFTWARE FOR DOWNLOADfNG, STREAMING, AND PLAYING MUSIC,
                                                     AUDIO, VIDEOS AND INTERNET RADIO BROADCASTS; COMPUTER SOFTWARE FOR
                                                     PHOTO AND VIDEO EDITING; COMPUTER SOFTWARE FOR INSTANT MESSAGING;
                                                     COMPUTER SOFTWARE FOR MANAGING EMAIL ACCOUNTS, CALENDARS AND
                                                     CONTACTS; COMPUTER SOFTWARE FOR STORING, ACCESSTNG AND SYNCHRONIZING
                                                     DOCUMENTS, PHOTOS AND DATA; COMPUTER SOFTWARE FOR CREATTNG AND
                                                     PUBLJSHJNG BLOGS; COMPUTER SOFTWARE FOR RESTRICTING AND MONITORING
                                                     COMPUTER AND INTERNET USE; COMPUTER SOFTWARE FOR CREATING DVDS;
                                                     COMPUTER SOFTWARE FOR SENDING AND RECEIVING FAXES; COMPUTER SOFTWARE
                                                     FOR SCANNING DOCUMENTS AND IMAGES INTO ELECTRONIC FORM; COMPUTER
                                                     OPERATING SYSTEM SOFTWARE FOR ACCESSING AND USING CLOUD COMPUTING
                                                     NETWORKS; NETWORK OPERATTNG SOFTWARE FOR COMPUTER NETWORKS,
                          V _/                       NAMELY, LOCAL AREA NETWORKS, VIRTUAL PRIVATE NETWORKS AND WIDE AREA

    fa   ~~                  4.J                     NETWORKS; COMPUTER SOFTWARE DEVELOPMENT TOOLS; WEBSITE DEVELOPMENT
                                                     SOFTWARE; COMPUTER SOFTWARE THAT PROVIDES WEB-BASED ACCESS TO AP-
   A".,'"""'0'0'"""0•'"'5'"" 1'""" ""''"""'"'''"0""' PLICATIONS AND SERVICES THROUGH A WEB OPERATING SYSTEM OR POR1AL IN-
                                                     TERFACE; COMPUTER SOFTWARE FOR DEVELOPING AND OPERATING CLOUD
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 35 of 48 PageID 62




        Reg. No. 4 400 958   COMPUTER NETWORKS AND APPLICATIONS; COMPUTER SOFTWARE FOR USE IN
                  '   '      DATABASE MANAGEMENT; COMPUTER SOFTWARE PLATFORMS FOR CLOUD COM-
                             PUTING NETWORKS AND APPLICATIONS; A FULL LINE OF BUSINESS AND HOME
                             COMPUTER PROGRAMS FOR HOME AND BUSINESS USE; COMPUTERS; PERSONAL
                             COMPUTERS; TABLET COMPUTERS; COMPUTER SERVERS; COMPUTER BACKUP AND
                             STORAGE SYSTEMS, NAMELY, STORAGE SUBSYSTEMS FOR STORAGE AND BACKUl'
                             OF ELECTRONIC DATA EITHER LOCALLY OR VIA A TELECOMMUNICATIONS NET-
                             WORK; COMPUTER PERIPHERALS; CARRYING CASES FOR COMPUTERS; MOBILE
                             PHONES AND OTHER MOBILE DEVICES, NAMELY, PERSONAL DIGITAL ASSISTANTS,
                             E-BOOK READERS AND TABLET COMPUTERS; PERIPHERALS FOR MOBILE PHONES,
                             PERSONAL DIGITAL ASSISTANTS, E-BOOK READERS AND TABLET COMPUTERS,
                             NAMELY, KEYBOARDS, PRlNTERS, CHARGERS, STANDS, SPEAKERS, COMPUTER
                             MlCE, HEADPHONES, MICROPHONES; CARI<YING CASES FOR MOBILE PHONES AND
                             OTHER MOBILE PHONES, PERSONAL DIGITAL ASSISTANTS, TABLET COMPUTERS;
                             PROTECTIVE COVERS AND CASES FOR MOBILE PHONES, LAPTOPS, E-BOOK READERS
                             AND TABLET COMPUTERS; WEB CAMERAS, IN CLASS 9 (U.S. CLS. 21, 23, 26, 36 AND
                             38).

                             FIRST USE 8-0-20 12; IN COMMERCE 8-0-2012.

                             PRIORITY CLAIMED UNDER SEC. 44(D) ON SOUTH AFRICA APPLICATION NO.
                             2012/03056, FILED 2-9-2012.

                             THE MARK CONSISTS OF FOUR PARALLELOGRAMS ARI<ANGED TN A TWO BY TWO
                             GRID.

                             SN 85-546,505, FlLED 2-17-2012.

                             JANICE L. MCMORROW, EXAMINING ATTORNEY




                                         Page: 2 /RN# 4,400,958
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 36 of 48 PageID 63




                                  REQ UIRE MENTS TO MA INTAIN YOUR FEDE RAL
                                          TRADEMARK REGI STRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED I F YOU DO NOT FILE THE
                   DOCUMENTS BE LOW DURING THE SPECIFIED TIME PE RIODS.

        Requirements in t he First Ten Years*
        What and When to F i.le:

                    First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                   5th and 6th years after the registration date. See 15 U.S.C. §§ 1058, 114 lk. If the declaration is
                   accepted, the registration will continue in force for tJ1e remainder of the ten-year period, calculated
                   from the registration date, unJess cancelled by an order of the Commissioner for Trademarks or a
                   federal court.

                   Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                  Application for Renewal between the 9th and 10th years after the registration date.*
                  See 15 U.S.C. §1059.

        Requirements in Successive Ten-Year Pe riods*
        What a nd When to File:

                   You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                   every 9th and 10th-year period, calculated from the registration date.*

        Grace Period Filings*

        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.


          The United States Patent and Trad em ark Office (USPTO) will NOT send you :my future notice or
                                       reminder of these filing requirements.

        *ATTENTION MADRID PROTOCOL R EGISTRANTS: The holder of an intemational registration witJ1
        an extension of protection to the United States under tJ1e Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directJy with the USPTO. The time periods for filing are
        based on the U.S. registration date (not the intemational registration date). The deadlines and grace periods
        for tJ1e Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
        See 15 U.S.C. §§ 1058, 1141k. However, owners of international registrations do not file renewal applications
        at the USPTO. Instead, fuc holder must file a renewal of the underlying intcmational registration at tJ1e
        IntemationaJ Bureau of the World IntellectuaJ Property Organization, under Article 7 of the Madrid Protocol,
        before the expiration of each ten-year tenn of protection, calculated from the date of tJ1e international
        registration. See 15 U .S.C. §114 lj. For more infonnation and renewal forms for the international registration,
        see http://www.wipo.int/madrid/en/.

        NOTE: Fees and requirements for maintaining regist r ations are subject to change. Please check the
        USPT O website for further information. With the exce1>tion of renewal ap1>lications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://www.uspto.gov.




                                                   Page: 3 I RN# 4,400,958
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 37 of 48 PageID 64




                      EXHIBIT 12
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 38 of 48 PageID 65




                                                           ••
   Reg. No. 4,476,005                       MICROSOFT CORPORATION (WASHINGTON CORPORATION)
                                            ONE MICROSOFT WAY
   Registered Jan. 28, 2014                 REDMOND, WA 980526399

   Int. Cl.: 9                              FOR COMPUTER OPERATING SYSTEM SOFTWARE; OPERATING SYSTEM PROGRAMS,
                                            TN CLASS 9 (U.S. CLS. 21 , 23, 26, 36 AND 38).

   TRADEMARK                                FIRST USE 10-26-2012; IN COMMERCE 10-26-2012.

   PRINCIPAL REGISTER                       THE MARK CONSISTS OF A THREE-DIMENSIONAL CONFIGURATION OF A RECTAN-
                                            GULAR PRODUCT PACKAGE COMPRISED OF AN OUTER SLEEVE AND AN INNER BOX.
                                            THE FRONT FACE OF THE OUTER SLEEVE HAS FOUR PARALLELOGRAM CUT-OUTS
                                            ARRANGED TN A TWO BY TWO GRID. THE UPPER RIGHT CORNER OF THE SLEEVE
                                            AND A PORTION OF THE FRONT, TOP AND BACK SIDES ARE CUT AWAY SO A TRI-
                                            ANGLE SHAPED PORTION OF THE INNER BOX IS VISIBLE WHEN THE INNER BOX IS
                                            IN THE SLEEVE.

                                            SN 85-764,866, FILED 10-26-20 12.

                                            MARK SPARACINO, EXAMINTNG ATTORNEY




     Deputy Dir<<tor of th< United Stntes
       Patent and Tradern.'\l·I.< Offi<f-
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 39 of 48 PageID 66




                                  REQ UIRE MENTS TO MA INTAIN YOUR FEDE RAL
                                          TRADEMARK REGI STRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED I F YOU DO NOT FILE THE
                   DOCUMENTS BE LOW DURING THE SPECIFIED TIME PE RIODS.

        Requirements in t he First Ten Years*
        What and When to F i.le:

                    First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                   5th and 6th years after the registration date. See 15 U.S.C. §§ 1058, 114 lk. If the declaration is
                   accepted, the registration will continue in force for tJ1e remainder of the ten-year period, calculated
                   from the registration date, unJess cancelled by an order of the Commissioner for Trademarks or a
                   federal court.

                   Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                  Application for Renewal between the 9th and 10th years after the registration date.*
                  See 15 U.S.C. §1059.

        Requirements in Successive Ten-Year Pe riods*
        What a nd When to File:

                   You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                   every 9th and 10th-year period, calculated from the registration date.*

        Grace Period Filings*

        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.


          The United States Patent and Trad em ark Office (USPTO) will NOT send you :my future notice or
                                       reminder of these filing requirements.

        *ATTENTION MADRID PROTOCOL R EGISTRANTS: The holder of an intemational registration witJ1
        an extension of protection to the United States under tJ1e Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directJy with the USPTO. The time periods for filing are
        based on the U.S. registration date (not the intemational registration date). The deadlines and grace periods
        for tJ1e Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
        See 15 U.S.C. §§ 1058, 1141k. However, owners of international registrations do not file renewal applications
        at the USPTO. Instead, fuc holder must file a renewal of the underlying intcmational registration at tJ1e
        IntemationaJ Bureau of the World IntellectuaJ Property Organization, under Article 7 of the Madrid Protocol,
        before the expiration of each ten-year tenn of protection, calculated from the date of tJ1e international
        registration. See 15 U .S.C. §114 lj. For more infonnation and renewal forms for the international registration,
        see http://www.wipo.int/madrid/en/.

        NOTE: Fees and requirements for maintaining regist r ations are subject to change. Please check the
        USPT O website for further information. With the exce1>tion of renewal ap1>lications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://www.uspto.gov.




                                                   Page: 2 /RN# 4,476,005
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 40 of 48 PageID 67




                      EXHIBIT 13
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 41 of 48 PageID 68




   Reg. No. 4,552,497                       MICROSOFT CORPORATION (WASHINGTON CORPORATION)
                                            ONE MICROSOFT WAY
   Registered June 17, 2014                 REDMOND, WA 980526399

   Int. Cls.: 9 and 35                      FOR OPERATING SYSTEM SOFTWARE; COMPUTER SOFTWARE ENABLING USERS TO
                                            PURCHASE, DOWNLOAD, MANAGE SOFTWAREAPPLICATIONS FOR MOBILE DEVICES,
                                            PORTABLE HAND-HELD DEVICES, AND OTHER COMPUTING AND ELECTRONIC
   TRADEMARK                                COMMUNICATION DEVICES, IN CLASS 9 (U.S. CLS. 21, 23, 26, 36AND 38).

   SERVICE MARK                             FIRST USE 8-0-20 12; IN COMMERCE 8-0-2012.

   PRINCIPAL REGISTER                       FOR ONLINE RETAIL STORE SERVICES FEATURING SOFTWARE APPLICATIONS FOR
                                            MOBILE DEVICES, PORTABLE HAND-HELD DEVICES, AND OTHER COMPUTING AND
                                            ELECTRONIC COMMUNICATION DEVICES PROVIDED VIA THE INTERNET AND OTHER
                                            COMPUTER AND ELECTRONIC COMMUNICATION NETWORKS, IN CLASS 35 (U.S. CLS.
                                            100, IOI AND 102).

                                            FIRST USE 8-0-20 12; IN COMMERCE 8-0-2012

                                            NO CLAIM JS MADE TO THE EXCLUSIVE RlGHT TO USE "STORE", APART FROM THE
                                            MARK AS SHOWN.

                                            THE MARK CONSISTS OF A SQUARE TH.AT INCLUDES AN IMAGE OF A SHOPPING BAG
                                            WITH FOUR PARALLELOGRAMS ARRANGED IN A TWO BY TWO GRID ON THE BAG
                                            AND THE WORD "STORE".

                                            SN 85-764,872, FILED 10-26-20 12.

                                            MARK SPARACINO, EXAMINING ATTORNEY




     Deputy Dir<<tor of th< United Stntes
       Patent and Tradern.'\l·I.< Offi<f-
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 42 of 48 PageID 69




                                  REQ UIRE MENTS TO MA INTAIN YOUR FEDE RAL
                                          TRADEMARK REGI STRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED I F YOU DO NOT FILE THE
                   DOCUMENTS BE LOW DURING THE SPECIFIED TIME PE RIODS.

        Requirements in t he First Ten Years*
        What and When to F i.le:

                    First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                   5th and 6th years after the registration date. See 15 U.S.C. §§ 1058, 114 lk. If the declaration is
                   accepted, the registration will continue in force for tJ1e remainder of the ten-year period, calculated
                   from the registration date, unJess cancelled by an order of the Commissioner for Trademarks or a
                   federal court.

                   Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                  Application for Renewal between the 9th and 10th years after the registration date.*
                  See 15 U.S.C. §1059.

        Requirements in Successive Ten-Year Pe riods*
        What a nd When to File:

                   You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                   every 9th and 10th-year period, calculated from the registration date.*

        Grace Period Filings*

        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.


          The United States Patent and Trad em ark Office (USPTO) will NOT send you :my future notice or
                                       reminder of these filing requirements.

        *ATTENTION MADRID PROTOCOL R EGISTRANTS: The holder of an intemational registration witJ1
        an extension of protection to the United States under tJ1e Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directJy with the USPTO. The time periods for filing are
        based on the U.S. registration date (not the intemational registration date). The deadlines and grace periods
        for tJ1e Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
        See 15 U.S.C. §§ 1058, 1141k. However, owners of international registrations do not file renewal applications
        at the USPTO. Instead, fuc holder must file a renewal of the underlying intcmational registration at tJ1e
        IntemationaJ Bureau of the World IntellectuaJ Property Organization, under Article 7 of the Madrid Protocol,
        before the expiration of each ten-year tenn of protection, calculated from the date of tJ1e international
        registration. See 15 U .S.C. §114 lj. For more infonnation and renewal forms for the international registration,
        see http://www.wipo.int/madrid/en/.

        NOTE: Fees and requirements for maintaining regist r ations are subject to change. Please check the
        USPT O website for further information. With the exce1>tion of renewal ap1>lications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://www.uspto.gov.




                                                   Page: 2 /RN# 4,552,497
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 43 of 48 PageID 70




                      EXHIBIT 14
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 44 of 48 PageID 71




   Reg. No. 4,412,218        MICROSOFT CORPORATION (WASHINGTON CORPORATION)
                             ONE MICROSOFT WAY
   Registered Oct. 1, 2013   REDMOND, WA 980526399

   Int. Cl.: 9               FOR COMPUTER SOFTWARE FOR DOWNLOADING AND VIEWING VIDEO CONTENT,
                             TN CLASS 9 (U.S. CLS. 21 , 23, 26, 36 AND 38).

   TRADEMARK                 FIRST USE 8-0-20 12; IN COMMERCE 8-0-2012.

   PRINCIPAL REGISTER        NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "VIDEO", APART FROM THE
                             MARK AS SHOWN.

                             THE MARK CONSISTS OF A SQUARE THAT INCLUDES A RJGHT ARROW TRIANGLE
                             WITHIN A RECTANGLE AND THE WORD "VIDEO".

                             SN 85-764,965, FILED 10-26-2012.

                             CA TTLTN WATIS-FITZGERALD, EXAMINING ATTORNEY
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 45 of 48 PageID 72




                                  REQ UIRE MENTS TO MA INTAIN YOUR FEDE RAL
                                          TRADEMARK REGI STRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED I F YOU DO NOT FILE THE
                   DOCUMENTS BE LOW DURING THE SPECIFIED TIME PE RIODS.

        Requirements in t he First Ten Years*
        What and When to F i.le:

                    First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                   5th and 6th years after the registration date. See 15 U.S.C. §§ 1058, 114 lk. If the declaration is
                   accepted, the registration will continue in force for tJ1e remainder of the ten-year period, calculated
                   from the registration date, unJess cancelled by an order of the Commissioner for Trademarks or a
                   federal court.

                   Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                  Application for Renewal between the 9th and 10th years after the registration date.*
                  See 15 U.S.C. §1059.

        Requirements in Successive Ten-Year Pe riods*
        What a nd When to File:

                   You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                   every 9th and 10th-year period, calculated from the registration date.*

        Grace Period Filings*

        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.


          The United States Patent and Trad em ark Office (USPTO) will NOT send you :my future notice or
                                       reminder of these filing requirements.

        *ATTENTION MADRID PROTOCOL R EGISTRANTS: The holder of an intemational registration witJ1
        an extension of protection to the United States under tJ1e Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directJy with the USPTO. The time periods for filing are
        based on the U.S. registration date (not the intemational registration date). The deadlines and grace periods
        for tJ1e Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
        See 15 U.S.C. §§ 1058, 1141k. However, owners of international registrations do not file renewal applications
        at the USPTO. Instead, fuc holder must file a renewal of the underlying intcmational registration at tJ1e
        IntemationaJ Bureau of the World IntellectuaJ Property Organization, under Article 7 of the Madrid Protocol,
        before the expiration of each ten-year tenn of protection, calculated from the date of tJ1e international
        registration. See 15 U .S.C. §114 lj. For more infonnation and renewal forms for the international registration,
        see http://www.wipo.int/madrid/en/.

        NOTE: Fees and requirements for maintaining regist r ations are subject to change. Please check the
        USPT O website for further information. With the exce1>tion of renewal ap1>lications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://www.uspto.gov.




                                                   Page: 2 /RN# 4,412,218
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 46 of 48 PageID 73




                      EXHIBIT 15
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 47 of 48 PageID 74




   Reg. No. 4,426,632         MICROSOFT CORPORATION (WASHINGTON CORPORATION)
                              ONE MICROSOFT WAY
   Registered Oct. 29, 2013   REDMOND, WA 980526399

   Int. Cl.: 9                FOR COMPUTER SOFTWARE FOR VIEWING INFORMATION AND CONTENT ABOUT
                              SPORTS, IN CLASS 9 (U.S. CLS. 21, 23, 26, 36 AND 38).

   TRADEMARK                  FIRST USE 8-0-20 12; IN COMMERCE 8-0-2012.

   PRINCIPAL REGISTER         NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "SPORTS", APART FROM THE
                              MARK AS SHOWN.

                              THE MARK CONSISTS OF AN IMAG E OF A TROPHY AND THE WORD "SPORTS", ALL
                              APPEARING WITHIN A REC1ANGLE.

                              SN 85-764,97 1, FILED 10-26-2012.

                              CA TTLIN WATIS-FITZGERALD, EXAMINING ATTORNEY
Case 2:18-cv-00121-SPC-MRM Document 1-2 Filed 02/22/18 Page 48 of 48 PageID 75




                                  REQ UIRE MENTS TO MA INTAIN YOUR FEDE RAL
                                          TRADEMARK REGI STRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED I F YOU DO NOT FILE THE
                   DOCUMENTS BE LOW DURING THE SPECIFIED TIME PE RIODS.

        Requirements in t he First Ten Years*
        What and When to F i.le:

                    First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                   5th and 6th years after the registration date. See 15 U.S.C. §§ 1058, 114 lk. If the declaration is
                   accepted, the registration will continue in force for tJ1e remainder of the ten-year period, calculated
                   from the registration date, unJess cancelled by an order of the Commissioner for Trademarks or a
                   federal court.

                   Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                  Application for Renewal between the 9th and 10th years after the registration date.*
                  See 15 U.S.C. §1059.

        Requirements in Successive Ten-Year Pe riods*
        What a nd When to File:

                   You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                   every 9th and 10th-year period, calculated from the registration date.*

        Grace Period Filings*

        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.


          The United States Patent and Trad em ark Office (USPTO) will NOT send you :my future notice or
                                       reminder of these filing requirements.

        *ATTENTION MADRID PROTOCOL R EGISTRANTS: The holder of an intemational registration witJ1
        an extension of protection to the United States under tJ1e Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directJy with the USPTO. The time periods for filing are
        based on the U.S. registration date (not the intemational registration date). The deadlines and grace periods
        for tJ1e Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
        See 15 U.S.C. §§ 1058, 1141k. However, owners of international registrations do not file renewal applications
        at the USPTO. Instead, fuc holder must file a renewal of the underlying intcmational registration at tJ1e
        IntemationaJ Bureau of the World IntellectuaJ Property Organization, under Article 7 of the Madrid Protocol,
        before the expiration of each ten-year tenn of protection, calculated from the date of tJ1e international
        registration. See 15 U .S.C. §114 lj. For more infonnation and renewal forms for the international registration,
        see http://www.wipo.int/madrid/en/.

        NOTE: Fees and requirements for maintaining regist r ations are subject to change. Please check the
        USPT O website for further information. With the exce1>tion of renewal ap1>lications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://www.uspto.gov.




                                                   Page: 2 /RN# 4,426,632
